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Ex. A, at 8-9 (emphases added).

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Instead of being prepared to answer questions on these topics that were posed during the
first hour of the Defendant’s examination, the witness repeatedly admitted that he was not

prepared or did not have knowledge about them:

REDACTED

REDACTED

REDACTED

REDACTED

REDACTED

When asked who would have greater knowledge about the issues covered in the first hour of the

Defendant’s examination, the witness identified

REDACT
REDACTED , but stated

that he did not know who else was involved or who else had signed off on certain work papers.

Ex. B, at 360-61.

 

3

The witness stated:
* The witness responded:
* The witness stated:
“The witness stated:

' The witness

REDACTED
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After a short break taken at the request of the witness, the following exchange occurred
when the parties went back on the record at 5:42 p.m.:

REDACTED

Ex. B, at 362. Thus, after nearly seven hours of questions by the Plaintiffs and only one hour of
questions by the Defendant that the witness was unprepared to answer, counsel for E&Y
unilaterally decided to limit the Defendant’s cross-examination of Weatherford’s outside auditor
to fourteen minutes. After those fourteen minutes expired, Mr. Parzen stated

REDACTED Ex. B, at 378. After a few additional questions, the
undersigned stated: REDACTED
Mr.
Parzen’s response was REDACTED . The
undersigned then noted: REDACTED
D. = The REDACTED Deposition
REDACTED

On April 6, Plaintiffs served a subpoena to depose former E&Y tax partner
on May 6. Ex. C: Notice of Deposition of REDACTED | The deposition date, whic
days after the discovery cut-off in this action, was selected for the convenience of the witness.
While the undersigned agreed to the deposition on that date, he was never sent a copy of the
deposition notice and did not waive his right to cross-examine the witness. Plaintiffs now take
the position that the notice calls for only 3 % hours of deposition testimony and that they require
the entire 3 '4 hours for their examination. E& Y’s counsel has likewise taken the position that
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“y

he will not allow additional time for cross-examination beyond the 3 2 hours. Accordingly, the
a : . ACTED

Defendant served his cross-notice to examine REPACTE

Plaintiffs’ direct examination. Ex. D: Cross-Notice of Deposition of

“

for 3 4 hours at the conclusion of the
REDACTED

Argument

A. The Defendant Is Entitled to Additional Time to Depose E& Y’s Corporate
Representative REDACTED

The Defendant seeks two hours of additional testimony from E& Y's corporate
representative, REDACTED because the Defendant was not provided a fair opportunity for
cross-examination on April 17. Since Plaintiffs deposed the witness for nearly seven hours
compared to the one hour and fourteen minutes allowed the defense, the Defendant has good
cause for additional time.

A deposition is ordinarily limited to one day of seven hours, but the Court “must allow
additional time consistent with Rule 26(b)(2) if needed to fairly examine the deponent or if the
deponent, another person, or any other circumstance impedes or delays the examination.” Fed.
R. Civ. P 30(d)(1). The refusal of an attorney to agree with other counsel on the fair
apportionment of time to depose an opponent or a refusal to agree to a reasonable request for
additional time to complete a deposition is sanctionable conduct. See Fed. R. Civ. P. 30 advisory
committee note (1993) (“The making of an excessive number of unnecessary objections may
itself constitute sanctionable conduct, as may the refusal of an attorney to agree with other
counsel on a fair apportionment of the time allowed for examination of a deponent or a refusal
to agree to a reasonable request for some additional time to complete a deposition, when that 1s
permitted by the local rule or order.”)(emphasis added).

This Court has held that an order allowing additional time for cross-examination is
warranted in complex cases such as this one, particularly where an important witness is asked to
testify about complex claims, a large number of documents, or events that occurred over a long
period of time. See Arista Records LLC v. Lime Group LLC, No. 06 Civ. 5936 (GEL), 2008 WL
1752254, at *1-2 (S.D.N.Y. Apr. 16, 2008) (providing an additional four deposition hours where
the witness was a significant executive of the company and was the custodian or recipient of over
600,000 pages of documents discovered by defendants, even if he could be examined about the
“tiniest fraction” of those pages); see also Saeed v. County of Nassau, No. CV 09-3314
(DRH)\(AKT), 2011 WL 6945755, at *2 (E.D.N.Y. May 23, 2011) (allowing an additional four
deposition hours where the areas of inquiry involved extensive factual allegations and substantial
document disclosures); Fed. R. Civ. P. 30(d)(1) advisory committee note (2000) (“If the
examination will cover events occurring over a long period of time, that may justify allowing
additional time.”).
